Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 1 of 56 PageID 867




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION
   Winn-Dixie Stores, Inc. and
   Bi-Lo Holdings, LLC,

          Plaintiffs,
                                         Case No. 3:15-cv-01143-BJD-PDB
   v.

   Southeast Milk, Inc., National        AMENDED COMPLAINT AND
   Milk Producers Federation, aka        DEMAND FOR JURY TRIAL
   Cooperatives Working Together;
   Dairy Farmers of America, Inc.;
   Land O’Lakes, Inc.; Dairylea
   Cooperative Inc.; and Agrimark,
   Inc.,

          Defendants.
                                     /
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 2 of 56 PageID 868




              Plaintiffs Winn-Dixie Stores, Inc. and Bi-Lo Holdings, LLC (“Plaintiffs”) bring

   their Amended Complaint against Defendants Southeast Milk, Inc., National Milk

   Producers Federation, aka Cooperatives Working Together; Dairy Farmers Of America,

   Inc.; Land O’Lakes, Inc.; Dairylea Cooperative Inc.; and Agri-Mark, Inc. (collectively

   “Defendants”), and allege as follows:

                                       I.       NATURE OF THE CASE
              1.        Cooperatives Working Together (“CWT”) and its members have engaged

   in a continuing contract, combination and conspiracy to limit the production of raw farm

   milk through premature “herd retirements.” These herd retirements required participating

   dairy farmers to destroy all of the dairy cows in all of their herds and, beginning on April

   1, 2009, agree not to reenter the dairy farming business for at least one year. The

   principle purpose and effect of this contract, combination and conspiracy has been to

   reduce the supply of milk, eliminate competition, and significantly reduce the number of

   dairy farmers competing in the market in order to increase the price of raw farm milk,

   which included the over-order premium or price. This then artificially inflated the price

   of milk1 and other fresh milk products, including cream, half & half, yogurt, cottage

   cheese, cream cheese, and sour cream, purchased by retailers.

              2.        Founded in July of 2003, CWT is “a voluntary, producer-funded national

   program developed by the National Milk Producers Federation (NMPF), to strengthen

   and stabilize milk prices.” This was and continues to be CWT’s sole stated reason for

   existence. CWT involves “dairy producers in every state,” who are producing “almost

   70% of the nation’s milk.”2


   1
       This refers to fluid as opposed to dry milk.
   2
       http://www.cwt.coop/about/about_whatis.html.




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 3 of 56 PageID 869




              3.      CWT’s individual producer and cooperative members finance CWT’s

   programs by paying assessments based on their productivity. As of July 07, 2010, as

   CWT was conducting its tenth and final herd retirement, members paid assessments of

   $0.10 per hundredweight (cwt) of raw farm milk produced.3

              4.      Each member of CWT, including each defendant other than NMPF/CWT,

   agreed to and did in fact pay these assessments so that CWT in turn could pay some

   members of CWT to prematurely retire (slaughter) their entire herd, and agree to refrain

   from milk production for a certain time – the practical effect of which is permanent

   retirement as demonstrated by CWT’s surveys – in order to eliminate competition,

   significantly reduce the number of dairy farmers competing in the market, and

   “strengthen and stabilize” raw farm milk prices for all members of CWT. As a result,

   competition was eliminated, the supply of raw milk was restrained, and the over-order

   premium prices4 increased to artificial, supracompetitive levels.
              5.      Indeed, CWT’s primary activity since inception has been to increase the

   profitability of dairy producers through coordinated herd retirements.                      Through this

   program, dairy producers can submit bids for the price at which they will sell their herd

   to slaughter prematurely. CWT provides a formula through which farmers can calculate

   their bids essentially based on subtracting the price the farmer can recoup by selling them

   at auction as slaughter cows from their market value as producing dairy cows, with CWT

   paying the difference.5



   3
       http://www.agweb.com/assets/import/files/Herd-retirement-bids-accepted-070710(1).pdf.
   4
    "Over-order premium prices" or "over-order prices" refer to prices over and above the minimum prices set
   by applicable Federal Milk Marketing Orders.
   5
       http://www.cwt.coop/calculator/index.html.




                                                        2
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 4 of 56 PageID 870




          6.    In order to participate in CWT’s herd retirement program, dairy producers

   were required to complete and execute the below “Dairy Herd Retirement Program Bid

   Form,” which, if accepted by CWT, became a contract that was binding on the dairy

   producer:




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 5 of 56 PageID 871




          7.      Pursuant to the terms of the Dairy Herd Retirement Program Bid Form,

   participating dairy farmers must be members of CWT (either individually or as a member

   of a cooperative that is in turn a member of CWT) and agreed to sell for slaughter their

   “entire dairy herd which means all of the producer’s milking and dry cows and all of

   Producer’s heifers that calve prior to CWT’s farm audit” even those too young to produce

   milk. To further satisfy the participants in the conspiracy that the competing producer

   fully exited the business, the “entire herd” explicitly included “all of The Cows in which

   Producer holds an interest at any location.”

          8.      The payment to a retiring milk producer was calculated without regard to

   the number of cows slaughtered, but was focused solely on the amount of milk produced

   in the previous year – CWT calculated payments based on the amount of milk the retiring

   producer would not produce in the coming year. Indeed, CWT expressly denounced any

   responsibility or involvement whatsoever in the “marketing” of the cows for slaughter,

   and made clear that the price that the milk farmer received for slaughter of its cows had

   nothing to do with the payment from CWT: “[p]roducer shall be responsible for

   marketing The Cows and negotiating the terms of such sale with a slaughterhouse” and is

   “entitled to retain all proceeds from such sale.”        Eligibility was expressly “not

   conditioned on Producer receiving any minimum price or other terms for the sale of The

   Cows.” In furtherance of “the program’s goals for eliminating milk production” (bold

   and italics in original), and to ensure that the effect of the program was not simply to

   weed out cows that would soon be sent to slaughter absent the program, eligibility was

   limited to “a commercial dairy herd and … not cows that have been segregated … due to

   lower production.”

          9.      CWT then reviewed and tentatively accepted bids subject to farm visits by

   CWT auditors who supervised the tagging of the herds for removal. The producers were



                                                  4
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 6 of 56 PageID 872




   then required to ship their cows and heifers for slaughter within 15 days after completion

   of the audit. CWT made payment within 30 days of receiving verification that all cows

   had gone to slaughter.6

              10.     As hereinafter alleged, beginning on or about April 1, 2009, persons

   participating in CWT’s herd retirement program were not only required to tender all of

   their dairy animals for slaughter but they were also required to withdraw entirely from

   dairy farming for at least one year. Thus, beginning on or about April 1, 2009 the terms

   of the Dairy Herd Retirement Program Bid Form that participating farmers were required

   to execute provided that payment by CWT for “herd retirements” was to be made by

   CWT “in two installments – 90% upon verification of sale of the cows and 10% plus

   interest twelve months after completion of the [CWT] audit provided that neither the

   Producer nor the dairy facility, whether owned or leased, have been involved in the

   production and marketing of milk during that twelve month period.”                       CWT made

   payment of the initial 90% due to the farmer within 30 days of receiving verification that

   all cows had gone to slaughter.7
              11.     The amount expended to fund the CWT Herd Retirement Program was

   enormous. In 2009, for example, CWT membership assessments generated $219 million

   in revenues for CWT, which spent $217 million on herd reductions.8 Nearly the entire

   revenue of CWT was expended on “retiring herds” – that is, paying dairy farmers to

   cease competing – and thereby substantially constraining output, reducing the supply of

   raw milk, and eliminating dairy farmers from the market.



   6
       http://www.cwt.coop/action/action_herd_faqs html#c.
   7
       http://www.cwt.coop/action/action_herd_faqs html#c.
   8
       http://www.cwt.coop/sites/default/files/pdf/CWT-Website-Financial-Report-2009.pdf.




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 7 of 56 PageID 873




          12.     The herd retirement program can in no way be construed as pro-

   competitive. Had CWT not instigated the “herd retirement program,” individual dairy

   farmers would not have been inclined to prematurely retire their herds and effectively

   withdraw permanently from the production and sale of raw farm milk. The ultimate

   result of the CWT Program was to restrain the growth in the number of dairy herds to

   levels below the number of herds had the Program not been implemented.

          13.     The purpose and effect of the Defendants’ herd retirement program were

   to reduce the supply of raw farm milk in order to increase its price, which in turn

   increased the price paid for milk and other fresh milk products. Specifically, Defendants

   intended to and did in fact effectuate pre-production restraints on the output of milk,

   permanently eliminate competition in the supply of raw farm milk, significantly reduce

   the number of producers competing in the market for the production and sale of raw milk,

   reduce the supply of raw farm milk and thereby increase the over-order price of raw milk

   and milk products and artificially inflate the price paid for raw milk, processed or fluid

   milk, and other milk products.

          14.     By all accounts, the herd retirement program was a huge success for CWT

   and its members. CWT financed ten rounds of herd retirements from 2003 to 2010,

   during which CWT was responsible for removing over 500,000 cows from production,

   reducing the nation’s milk supply by approximately 10 billion pounds. According to

   studies commissioned by CWT from Dr. Scott Brown at the University of Missouri, the

   Herd Retirement Program resulted in a raw farm milk price increase of $0.85/cwt by

   2007 and $1.75/cwt by 2010 – more than doubling the increase in the price of raw farm

   milk in the last three years of the program. By the end of the program in 2010, it was

   responsible for a cumulative increase in milk price revenue of $9.55 billion. Further, Dr.

   Brown’s studies indicate that “each herd retirement round has effects that extend forward



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 8 of 56 PageID 874




   years into the future,”9 so that dairy farmers are still significantly profiting from previous

   herd retirements.10

             15.      By manipulating the supply of raw farm milk through herd retirement,

   price competition has been suppressed and prices have been supported at artificially high

   levels throughout the United States. As a result, Plaintiffs, direct purchasers of raw milk,

   processed or fluid milk, and other fresh milk products have paid supracompetitive prices

   for the over-order premiums and other charges above the minimum prices set by Federal

   Minimum Marketing Orders (FMMO).

             16.      Accordingly, Plaintiffs bring this suit for violation of Section 1 of the

   Sherman Act (15 U.S.C. § 1).

                                II.     JURISDICTION AND VENUE
             17.      This Court has jurisdiction over the instant matter pursuant 28 U.S.C. §

   1331, 1337(a) and the Clayton Act, 15 U.S.C. §§15(a) and 26.

             18.      Venue is appropriate in this district under 15 U.S.C. §§ 15 and 22, and 28

   U.S.C. § 1391(b) and (c), because during the Relevant Period (2003 through 2013)

   because many of the Defendants transacted business, were found, or had agents in this

   district and because a substantial portion of the affected interstate trade and commerce

   described below has been carried out in this district.

             19.      Intradistrict Assignment: Assignment to the Jacksonville division of this

   Court is proper because a substantial portion of the events giving rise to the claims

   9
       http://web.archive.org/web/20080301233800/http://www.cwt.coop/impact/impact_index html.
   10
     Relatedly, CWT also instituted a Reduced Production Marketing Program by which “dairy producers bid
   to be compensated for reducing their milk production.” The program was discontinued in September of
   2004. CWT also operates an Export Assistance Program, which subsidizes exportation of dairy products to
   remove them from the U.S. market. Since the termination of its Herd Retirement Program in 2010, CWT
   has focused on the Export Assistance Program to reduce supply, drive up prices, and increase producer
   revenues.




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 9 of 56 PageID 875




   occurred therein.

           20.         This Court has personal jurisdiction over each Defendant because, inter

   alia, each Defendant: (a) transacted business throughout the United States, including in

   this district; (b) participated in the sale and distribution of milk throughout the United

   States, including in this district; (c) had substantial contacts with the United States,

   including in this district; and/or (d) was engaged in an illegal scheme and supply-

   reduction conspiracy that was directed at and had the intended effect of causing injury to

   persons residing in, located in, or doing business throughout the United States, including

   in this district.

           21.         Indeed, there are about 122,000 dairy cows in Florida that collectively

   produce about 2.34 billion pounds of milk a year. The total represents 272 million gallons

   of Florida-produced milk in the grocery store.

                                        III.    THE PARTIES

   A.      Plaintiffs
           22.         Plaintiff Winn-Dixie Stores, Inc. is a corporation organized under the laws

   of the State of Florida.         Its principal place of business is 5050 Edgewood Court,

   Jacksonville, Florida 32254. Plaintiff purchased raw milk, processed or fluid milk, and

   other fresh milk products during the Relevant Period and was injured as a result of

   Defendants’ illegal conduct, by paying higher prices for over-order premiums and other

   charges above the minimum FMMO prices.

           23.         Plaintiff Bi-Lo Holdings, LLC is a limited liability company organized

   under the laws of the State of Delaware.             Its principal place of business is 5050

   Edgewood Court, Jacksonville, Florida 32254. Plaintiff purchased raw milk, processed

   or fluid milk, and other fresh milk products during the Relevant Period and was injured as

   a result of Defendants’ illegal conduct, by paying higher prices for over-order premiums



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 10 of 56 PageID 876




    and other charges above the minimum FMMO prices.

    B.         Defendants
               24.     Defendant Southeast Milk, Inc. (“SEM”) is a corporation organized under

    the laws of the State of Florida. Its principal place of business is Belleview, Florida.

    SEM is and has been a contributing member of CWT. As such it has agreed to and in

    fact paid assessments of $0.10 per hundredweight (cwt) of milk produced to CWT in

    order to finance pre-production output restraints, reduce supply, eliminate competition

    and thereby illegally strengthen and stabilize milk prices through nationally orchestrated

    herd retirements. SEM has 290 member dairy farms in Florida, Georgia, Alabama and

    Tennessee. SEM’s annual revenues are over $1 billion. SEM produces over 3 billion

    pounds of milk annually. SEM sold raw milk, processed or fluid milk and other fresh

    milk products to Winn-Dixie and Bi-Lo, during the Relevant Period.

               25.     Defendant National Milk Producers Federation (“NMPF”) is a trade

    association that was established in 1916 and is based in Arlington, Virginia.         The

    members of NMPF’s 31 cooperatives, over 40,000 dairy producers, make the majority of

    the nation’s milk. NMPF “promote[s] the economic well-being of dairy producers and

    their cooperatives through coordinated industry efforts.”11 NMPF manages Cooperatives

    Working Together, the primary purpose of which was to effectuate pre-production output

    restraints with respect to raw milk, reducing supply and eliminating competition, and

    thereby strengthening and stabilizing raw farm milk prices through nationally

    orchestrated herd retirements.       According to NMPF, the “dairy farmer cooperative

    associations of the National Milk Producers Federation (NMPF) represent two-thirds of

    the nation’s 60,000 commercial dairy farmers.”


    11
         http://www.nmpf.org/.




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 11 of 56 PageID 877




               26.      Defendant Cooperatives Working Together (“CWT”) “is a voluntary,

    producer-funded national program developed by NMPF, to strengthen and stabilize milk

    prices.” While it is a separately funded program, CWT is organized within the existing

    operating structure of NMPF. Dairy farmers in every state, producing almost 70% of the

    nation’s milk, participate in CWT.              These producers are either members of the 35

    cooperative members of CWT, or one of over 130 independent dairy farmers who are

    members of CWT.             The CWT Committee establishes policies and oversees CWT’s

    programs and activities. The CWT Committee consists of the NMPF Board of Directors,

    representatives from participating cooperatives that are not members of NMPF, and

    representatives for independent producer members of CWT.12 CWT’s website indicates
    that dairy farmers in every state invest in CWT. A major member of CWT is DFA,

    which has over 14,000 member dairies throughout the United States.

               27.      Defendant Dairy Farmers of America, Inc. (“DFA”) has its headquarters

    and principal place of business in Kansas City, Missouri. It is the largest dairy farmer

    cooperative in the country and is a vertically integrated cooperative that not only engages

    in the production of raw milk, but also hauls, processes, bottles, and distributes raw milk.

    DFA has over 14,000 members in 48 states responsible for over 1.8 million cows.13 In

    2007, DFA was the 29th largest private company in the United States with $11.1 billion

    in revenue.14 DFA’s Chairman of the Board, Randy Mooney, is also the Chairman of

    NMPF. Twelve of DFA’s executives are on NMPF’s Board of Directors, which also

    12
         http://www.cwt.coop/about/about_whatis.html; http://www.cwt.coop/cwt_faqs.html.
    13
         http://www.dfamilk.com/.
    14
         http://money.cnn.com/galleries/2008/fortune/0805/gallery.private_companies.fortune/29.html.




                                                         10
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 12 of 56 PageID 878




    places them on the CWT Committee. DFA is and has been a contributing member of

    CWT. As such it has agreed to and in fact paid assessments of $0.10 per hundredweight

    (cwt) of milk produced to CWT in order to finance pre-production output restraints,

    reduce supply, eliminate competition and thereby illegally strengthen and stabilize milk

    prices through nationally orchestrated herd retirements.

               28.     Defendant Land O’Lakes, Inc. is the second largest cooperative in the

    nation with 3,200 producer members and 1,000 member cooperatives comprised of over

    300,000 producers. Located in Arden Hills, Minnesota, Land O’Lakes handles 12 billion

    pounds of milk annually and does business in all 50 states.15 Land O’Lakes is a vertically
    integrated cooperative that not only engages in the production of raw milk, but also hauls,

    processes, bottles, and distributes raw milk. Land O’Lakes is and has been a contributing

    member of CWT. As such it has agreed to and in fact paid assessments of $0.10 per

    hundredweight (cwt) of milk produced to CWT in order to finance pre-production output

    restraints, reduce supply, eliminate competition and thereby illegally strengthen and

    stabilize milk prices through nationally orchestrated herd retirements.

               29.     Defendant Dairylea Cooperative Inc. was founded in 1907 and is

    headquartered in Syracuse, New York. It is the fifth largest U.S. dairy cooperative with

    over 2,000 members and selling more than 6 billion pounds of milk annually.16 Dairylea

    is and has been a contributing member of CWT. As such it has agreed to and in fact paid

    assessments of $0.10 per hundredweight (cwt) of milk produced to CWT in order to

    finance pre-production output restraints, reduce supply, eliminate competition and

    thereby illegally strengthen and stabilize milk prices through nationally orchestrated herd

    retirements. In 2014, Dairylea agreed to merge with DFA.

    15
         http://www.landolakesinc.com/company/default.aspx.
    16
         http://www.dairylea.com/.




                                                       11
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 13 of 56 PageID 879




               30.     Defendant Agri-Mark, Inc. is located in Lawrence, Massachusetts, and

    markets more than 300 million gallons of milk each year for more than 1,300 producer

    members.17 Agri- Mark is and has been a contributing member of CWT. As such it has

    agreed to and in fact paid assessments of $0.10 per hundredweight (cwt) of milk

    produced to CWT in order to finance preproduction output restraints, reduce supply,

    eliminate competition and thereby illegally strengthen and stabilize milk prices through

    nationally orchestrated herd retirements.

    C.         Unidentified Co-Conspirators
               31.     Various other persons, firms, and corporations, not named as Defendants

    in this Complaint, have participated as co-conspirators with Defendants in the violations

    alleged herein, and aided, abetted and performed acts and made statements in furtherance

    of the conspiracy.

               32.     The true names and capacities, whether individual, corporate, associate, or

    representative is unknown to Plaintiffs at this time. Plaintiffs will amend this Complaint

    to allege the true names and capacities of additional co-conspirators as their identities

    become known through discovery.

               33.     At all relevant times, milk producers, milk trade groups, and others,

    referred to herein as “co-conspirators,” as well as other various persons, companies, and

    corporations, the identities of which are presently unknown, willingly conspired with

    Defendants in their unlawful restraint of trade as described herein.

               34.     The acts alleged herein that were done by each of the co-conspirators were

    17
         http://www.agrimark.net/public/ourcoop.php.




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 14 of 56 PageID 880




    fully authorized by each of those co-conspirators, or ordered, or committed by duly

    authorized officers, managers, agents, employees or representatives of each co-

    conspirator while actively engaged in the management, direction, or control of its affairs.

                                   IV.     FACTUAL ALLEGATIONS

    A.         Defendants Combined to Effectuate Pre-production Output Restraints,
               Artificially Reduce Supply, Eliminate Competition, Significantly Reduce the
               Number of Dairy Producers Competing in the Market and Thereby Reduce
               Milk Production and Increase Prices Through Premature Herd Retirement.

               1.      The 2003 herd reduction reduces output.18

               35.     On July 11, 2003, the National Milk Producers Federation announced that

    the “dairy industry’s new voluntary, producer-funded program to strengthen farm milk

    prices will begin this summer, following action this week by the National Milk Producers

    Federation Board at their summer meeting in Washington, DC. ‘Now that we’ve reached

    the critical mass needed to move forward with this innovative program, Cooperatives

    Working Together, we are eager to finalize specific program details and implement the

    plan as quickly as possible,’ said Jerry Kozak, NMPF President and CEO. Participating

    producers will begin their investment by contributing the 5 cents per hundredweight

    assessment on their July milk. These contributions will be used to implement a multi-

    dimensional program to reduce milk supplies by 1.2 billion pounds over a 12-month

    period.” Members of CWT were required to financially contribute to the herd retirement

    program. Without this mandatory assessment from a substantial number of members,

    such as the Defendants, CWT and its members would not have been successful in

    effectuating preproduction restraints, artificially limiting supply, eliminating competition

    18
         http://www.cwt.coop/about/about_news_releases2003 html.




                                                       13
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 15 of 56 PageID 881




    and thereby raising milk prices to supracompetitive levels.


             36.     On July 23, 2003, NMPF announced that CWT would begin accepting

    farmer bids for participation in the first herd retirement. These bids stipulate how much

    each producer would accept to sell every milking cow he owned or controlled, with the

    amount of payment being a function of the amount of milk that the farmer’s herd

    produced the previous year (and unrelated to the number of cows being sold to slaughter).

    Rather than assisting to market the farmers’ produce, CWT would be paying farmers not

    to produce anything at all. By September 16, 2003, “2,038 bids were submitted for the

    herd retirement program (under which a producer will be paid for selling his/her herd of

    milk cows)” and “approximately 33,000 cows will be culled due to the herd retirement

    program … which will reduce the nation’s milk output by 580 million pounds.”

    According to CWT, the producer must agree to sell “all cows in which producer has an

    ownership interest, regardless of where the cows are located” even if the producer owns

    multiple dairies.19 As discussed herein, as demonstrated by CWT’s survey the effect of
    the program was to eliminate smaller farmers from the dairy business, while increasing

    the profits of agribusiness giants.

             37.     On October 2, 2003, NMPF explained that “[i]n order to ensure the
    integrity of the herd retirement process, those farms whose bids have been tentatively

    accepted are now being contacted by CWT field auditors shortly before the auditors visit

    the farms. That process will continue until all the farms have been audited, and the herds

    have been tagged for removal. To date, nearly half the 300 farms have been audited, and

    are now being liquidated.” By October 23, 2003, those audits were complete. Also on

    October 2, 2003, Jerry Kozak, NMPF President and CEO, stated: “We’ve moved very


    19
         http://www.cwt.coop/action/action_herd_faqs.html.



                                                14
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 16 of 56 PageID 882




    quickly to reduce milk supplies – which is what CWT is all about.”

               38.   The national scope of the herd retirements is evidenced in the following

    chart:20




               2.    The 2004 reduction of output.21

               39.   On January 20, 2004, CWT stated, “After six months of operation, the

    dairy industry’s historic self-help program, Cooperatives Working Together, has already

    had a sizeable impact on dairy producer prices. According to new analysis released by

    the National Milk Producers Federation, CWT will ultimately return nearly 60 cents per


    20
      Regions I, II, III, IV, and V were renamed Northeast, Southeast, Midwest, Southwest,
    and West.

    See http://www.cwt.coop/sites/default/files/pdf/past-herd-retirements-110810.pdf.
    21
         http://www.cwt.coop/about/about_news_releases2004.html.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 17 of 56 PageID 883




    hundredweight for America’s dairy farmers through this fall.”


           40.     The first round of herd retirements was so successful at effectuating

    preproduction output restraints, reducing supply, eliminating competition and thereby

    raising milk prices that on September 13, 2004, NMPF announced a second round of herd

    retirement: “Starting October 1st, 2004, CWT will begin accepting bids from dairy

    farmers willing to sell their entire milking herds to CWT. The bidding window will be

    open through October, 29th, after which CWT staff will review the bids submitted.

    Producers who wish to bid must be paying the five cent per hundredweight CWT

    membership assessment, either through their cooperative, or directly.        CWT also

    announced today that it has received a number of additional participation commitments

    recently, bringing the total percentage of milk production contributing to the program to

    70.1% of the nation’s milk supply.”

           41.     By November 17, 2004, CWT accepted 378 bids from farmers seeking to

    retire their milking herds, representing approximately 51,700 cows. “Those retirements

    will remove 931 million pounds of milk, or 0.55% of the nation’s supply, helping to

    stabilize farm-level prices that have been declining in recent months.” As intended, this

    caused the over-order price of raw milk, and fluid milk and other fresh milk products, to

    rise above competitive levels.

           42.     The across-the-country impact of this program is evidenced by the

    following chart:




                                               16
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 18 of 56 PageID 884




             3.     The 2005 reduction in output.22

             43.    On March 9, 2005, Mr. Kozak stated, “With nearly two years history

    behind us, we can say without equivocation that CWT is having a positive impact on the

    lives of all dairy farmers in this country.”

             44.    By July 2005, “[n]early three-quarters of the nation’s milk supply” was

    contributing to CWT. During that same time period, CWT determined that its funds

    would be “primarily devoted to the retirement program,” and on August 10, 2005,


    22
         http://www.cwt.coop/about/about_news_releases2005.html.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 19 of 56 PageID 885




    announced a third herd retirement round.



           45.     CWT explained that the “first two programs reduced cow numbers by

    more than 83,000, representing reduced milk production equivalent to 1.6 billion pounds.

    Since CWT began operations in the summer of 2003, dairy prices have been at or above

    historical averages, preserving millions of dollars in income for dairy farmers.”

    However, “[i]n recent months, cow numbers have climbed up, along with milk output per

    cow, and that combination doesn’t bode well for future milk prices….             The CWT

    management committee, in looking at all of the economic indicators that we track, has

    decided that we need to proceed now to keep production from swamping demand and

    bringing prices down to unacceptably low levels. CWT estimates that there will be

    approximately 70,000 cows in this third retirement program to reach its goal of reducing

    future milk output by 1.9 billion pounds.’“ Despite the market’s inclination to naturally

    correct the price of milk, Defendants continued their efforts to artificially force the over-

    order price of milk upward by restraining the supply through additional herd retirements.

           46.     “‘Based on our feedback from those whose bids we have accepted

    previously, we know that most producers view the decision to sell their herds through

    CWT as a long-term commitment which results in them exiting the business

    permanently,’ said Walt Wosje, Chief Operating Officer of CWT.” According to a

    survey conducted by CWT, only 12% of those retiring their herds through the CWT

    program planned on engaging in dairy farming again. Indeed, as discussed below, in

    later, progressively larger herd retirement rounds, CWT sought to even further reduce the




                                                 18
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 20 of 56 PageID 886




    percentage of dairy farmers reentering the market by adding the requirement that farmers

    retiring herds through the program not engage in any milk production for at least one

    year.

            47.     By September 2005, membership in CWT reached 74% of the nation’s

    milk supply, with nearly 50 dairy cooperatives and more than 300 individual farmers.

    CWT reiterated that since it “started operations in July 2003, farm-level milk prices have

    been consistently above historic averages.” In other words, CWT had been successful in

    artificially raising the over-order price of milk.

            48.     To obstruct the market’s inclination to return to competitively priced milk,

    Defendants continued their herd retirements to intentionally restrain supply, eliminate

    competition, and thereby inflate over-order milk prices. On September 28, 2005, CWT

    announced “that it has tentatively accepted 448 bids from farmers to retire their milking

    herds. There will be approximately 66,000 cows removed, thereby eliminating 1.2 billion

    pounds of milk, or 0.7% of the nation’s annual supply.”

            49.     On December 5, 2005, Mr. Kozak explained that “[c]ow numbers and

    production per cow were both on the rise. Experience tells us that can be a formula for

    dramatic milk price drops. That’s why we initiated this most recent herd retirement ….

    We are pleased with the size program we were able to execute. This is our biggest

    retirement to date.”




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 21 of 56 PageID 887




             4.     In 2006 CWT boasts of the price effects of its first three rounds of
                    reductions.23

             50.    On September 26, 2006, CWT announced that an “independent economic

    analysis of the impact of Cooperatives Working Together has found that the historic dairy

    self-help program has raised farmers’ prices by at least 40 cents per hundredweight since

    it began operations in 2003. The analysis was performed by Dr. Scott Brown of the

    University of Missouri, a nationally known farm policy expert who is often called on by

    the U.S. Congress to assess agricultural economic issues. Brown examined the impact of

    CWT’s three herd retirements, plus its ongoing export assistance program, while also

    taking into consideration other factors affecting the dairy supply in 2003-2006, such as

    the relative shortage of Canadian dairy replacements. His analysis showed that CWT

    alone was responsible for a minimum 40 cent average increase in prices from 2004-06,

    apart from the other factors affecting the market.”

             51.    Dr. Brown stated, “At the start of CWT, I was skeptical about the long-

    term effects that CWT would have on dairy farmers’ prices, but the evidence is clear that

    this program has raised the price that all farmers have received since it first began

    removing cows at the end of 2003.” According to his evaluation, the “cumulative impact

    of CWT from the start of 2004 through the first half of 2006 is $1.97 billion in additional

    producer revenue,” as “the milk price impact has grown with each herd retirement

    program” and with the “normal attrition of cows in a herd [being] taken into


    23
         http://www.cwt.coop/about/about_news_releases2006.html.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 22 of 56 PageID 888




    consideration in determining the effect on milk production in the years following a herd

    removal.” Mr. Kozak concluded that even though CWT has “seen both rising and falling

    prices since 2003, there is no question that prices overall are better because of CWT.” As

    Dr. Brown’s study indicated, without the anticompetitive conspiracy orchestrated and

    funded by Defendants, the over-order price of raw milk, and fluid milk and other fresh

    milk products, would have been lower.

             5.     The 2007 reduction in output.24

             52.    On February 6, 2007, CWT announced a fourth herd retirement, because,

    according to Mr. Kozak, “[a]ll of the economic indicators and benchmarks that we

    monitor in order to guide CWT’s decisions show that now is the appropriate time for us

    to initiate this herd retirement program.” Yet again, just as the market was naturally

    correcting the price of milk, Defendants took anti-competitive measures and instituted

    another supply restraint through a fourth herd retirement.

             53.    On March 15, 2007, CWT announced that it was “tentatively accepting

    343 bids from 39 states, representing 54,000 cows which produced 1.03 billion pounds of

    milk” in the previous year. CWT explained the logistics: “Beginning the week of March

    19th, CWT auditors will begin visiting those farms to check their milk production records,

    inspect the herds, and tag each of the cows for slaughter.”

             54.    CWT further explained that this retirement “will remove more than one

    billion pounds of milk, or 0.6% of the nation’s dairy supply, in an effort to help

    strengthen and stabilize farm-level milk prices. USDA projects a 2.3 billion pound

    24
         http://www.cwt.coop/about/about_news_releases2007.html.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 23 of 56 PageID 889




    increase in milk production for 2007 and this action by CWT effectively reduces that

    projection by 45 percent.” By June 6, 2007, the fourth round was complete. Defendants

    had yet again effectively blocked the natural downward shift in milk prices.

           55.     Knowing that the price of milk would eventually decline again, and

    recognizing that the herd retirements were very effective at eliminating competition and

    artificially inflating the price of milk, Defendants committed to sticking with the

    program. In September 2007, “Kozak said that even with the record high farm prices of

    this summer, ‘producers recognize that we will need CWT in the future to help stabilize

    prices. The track record of the past four years shows what we can accomplish with this

    unique program when our industry works together.’“

           56.     On September 20, 2007, CWT released the results of further economic

    analysis by Dr. Brown. He evaluated the impact of CWT’s 2007 herd retirement, and its

    export assistance program activities during the first half of 2007, in addition to reviewing

    the effects of CWT’s past activities. Dr. Brown’s analysis showed that CWT’s programs

    helped raise farm-level milk prices by 75 cents per hundredweight this year, up from 67

    cents in 2006, 42 cents in 2005, 18 cents in 2004, and 5 cents in the brief time it operated

    in 2003.

           57.     Dr. Brown stated, “CWT has had a growing influence on the financial

    returns of dairy farmers. My economic models account for the variety of supply and

    demand factors affecting prices, including the fact that in response to CWT, some

    producers have added cows and produced more milk.” He continued, “[w]hen you

    separate out all the other factors affecting milk production, the fact remains that CWT has




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 24 of 56 PageID 890




    boosted the milk check of each farmer by 75 cents per hundredweight this year.”

    According to his assessment, U.S. dairy cow numbers were a net 66,000 head fewer than

    they would have been without CWT’s ongoing activities. While purportedly increasing

    the “check of each farmer,” Defendants had – even as early as 2007 – prior to the most

    aggressive rounds of herd retirements – eliminated over one thousand four hundred dairy

    farmers from the market and caused Plaintiffs to pay higher prices for raw milk,

    processed or fluid milk, and other fresh milk products.

             6.     The two rounds of reductions in 2008 – time to trim output and raise
                    prices.25

             58.    In June 2008, the CWT Committee endorsed a continuation of the

    program, at the membership assessment level of 10 cents per hundredweight, through

    calendar year 2009.

             59.    On June 3, 2008, CWT announced its fifth herd retirement. Mr. Kozak

    explained, “All of the economic indicators and benchmarks that guide CWT’s decisions,

    including farmers’ cost of production, show that now is the appropriate time for us to

    initiate this herd retirement.” In a 2008 newsletter, CWT explained that “[d]airy farmers

    need to remember that CWT is a national program.            Therefore, the benchmarks it

    monitors must be national benchmarks. Some regions of the country may be squeezed

    before other regions, but overall the benchmarks will tell CWT when to execute a herd

    retirement so to strengthen and stabilize dairy farmer milk prices.26


    25
         http://www.cwt.coop/about/about_news_releases2008.html.
    26
         http://www.cwt.coop/about/about_newsletters2008.html.



                                                23
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 25 of 56 PageID 891




             60.   By September 15, 2008, CWT completed the farm audits of its fifth herd

    retirement round, resulting in the removal of 24,860 cows representing 436 million

    pounds of milk.

             61.   This prompted another economic analysis from Dr. Brown, who noted that

    his economic models account for the variety of supply and demand factors affecting

    farm-level milk prices, including the fact that in response to CWT, some producers have

    added cows and produced more milk. He concluded, “When you separate out all the

    other factors affecting milk production, the fact remains that CWT has boosted the milk

    check of each farmer by 71 cents per hundredweight this year.”

             62.   In 2008, the prices of milk were on a downward trend, and the Defendants

    took additional, aggressive action to reduce output, eliminate competition, and to control

    and increase over-order prices. On October 24, 2008, CWT announced its sixth herd

    retirement. “As farm-level milk prices drop to their lowest level in 18 months, CWT

    officials said it was time the program offered its members another opportunity to retire

    their herds to trim overall national milk production, and strengthen prices going into

    2009.”    Farmers in 40 states submitted a total of 471 herd retirement bids in late

    November to CWT.

             63.   By December 10, 2008, CWT had accepted 184 bids in its second 2008

    herd retirement, and by February 2009, CWT had eliminated another 61,078 cows, 186

    dairy farms, and 1.2 billion pounds of raw farm milk from the market. The success of

    this second 2008 herd retirement proved that CWT’s aggressive action would enable




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 26 of 56 PageID 892
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 27 of 56 PageID 893




           65.    The unlawful agreement and conspiracy among Defendants is evidenced

    by the presentation made by NMPF’s COO at an October 29, 2008 “Town Hall Meeting”

    where he explained the logistics and benefits of the retirement program before concluding

    that “continued operation of the CWT program is essential for producers to continue to

    receive benefits from the program”:




                                               26
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 28 of 56 PageID 894




             7.     The three rounds of herd reductions in 2009 methodically reduced
                    supply, eliminated competition and thereby raised prices.27

             66.    On February 11, 2009, CWT’s members approved a change in program

    policy that required all members whose bids were accepted in future herd retirement

    programs to agree to cease dairy production for one year.

             67.    By February 17, 2009, CWT completed the farm audits of its sixth herd

    retirement round, removing 50,630 cows that produced almost one billion pounds of raw

    farm milk.

             68.    On April 1, 2009, CWT announced its seventh herd retirement.         Mr.

    Kozak stated, “We all recognize that 2009 is shaping up to be among the toughest years

    on record for dairy farmers, but CWT will help shorten the price plunge farmers are

    facing, and speed the recovery.” This would be another opportunity for Defendants to

    block the downward trend of milk prices by restraining supply, significantly reducing the

    number of dairy producers competing in the market and otherwise eliminating

    competition.

             69.    By May 13, 2009, CWT had accepted 388 bids representing 102,898 cows

    and 2 billion pounds of farm milk production capacity, representing the largest single

    herd retirement carried out in the six-year history of CWT. Mr. Kozak explained, “Those

    that took advantage of CWT’s offer to retire their herds will aid others still wanting to

    farm by reducing the amount of milk coming to market and strengthening prices going


    27
         http://www.cwt.coop/about/about_news_releases2009.html.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 29 of 56 PageID 895




    forward.”

           70.     By July 2, 2009, CWT completed the farm audits of its seventh herd

    retirement round, removing 367 herds in 41 states, comprised of nearly 101,000 cows that

    produced 1.96 billion pounds of farm milk. “The national dairy herd will be noticeably

    smaller this summer as a result of CWT,” said Jim Tillison, Chief Operating Officer of

    CWT.

           71.     On July 10, 2009, CWT announced that it would conduct its eighth herd

    retirement. “Carrying out a second herd retirement right on the heels of the largest-ever

    herd retirement should give us a double-barreled attack on milk production in a very short

    period of time, resulting in a farm level price recovery several months sooner than would

    otherwise occur,” Kozak said.

           72.     By September 24, 2009, CWT finished the farm audits for its eighth herd

    retirement, removing 74,114 cows that produced 1.5 billion pounds of farm milk.

           73.     On October 1, 2009, CWT announced its ninth herd retirement. “This

    third herd retirement of 2009, along with a stabilizing global economy, should further

    accelerate the recovery in dairy farmers’ prices,” said Mr. Kozak.

           74.     Defendants continued to conspire to significantly reduce the supply of

    milk, significantly reduce the number of dairy farmers competing in the market, eliminate

    competition and thereby hike over-order prices to a supracompetitive level despite an

    economic downturn. By October 27, 2009, CWT accepted 154 bids in the fourth herd

    retirement it had conducted in the last 12 months, representing 26,412 cows and 517

    million pounds of farm milk. “Coming into 2009, CWT’s economists estimated that we




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 30 of 56 PageID 896




    would need to remove between five and six billion pounds of milk, the production of

    approximately 250,000 cows, through herd retirements,” said Mr. Kozak.           “We are

    pleased that the participation in this third herd retirement of 2009 has brought us to our

    goal of aligning supply with demand, and hastening the recovery of farm-level milk

    prices that plunged because of the global recession.” Said Mr. Kozak, “We felt it was

    important to help milk prices continue to strengthen by conducting another herd

    retirement as soon as we completed farms audits for the previous round.”

              75.   In November 2009, Dr. Brown provided another economic evaluation of

    CWT’s herd retirement program. His “analysis showed that the combined effect of

    CWT’s cow-removal programs, as well as its export assistance program, helped raise

    farm-level milk prices by $1.54 per hundredweight this year, and added $2.4 billion to

    farm-level milk receipts in a year when dairy income is expected to shrink by more than

    $10 billion because of the global recession.” He explained that his economic model

    “allows for the effects of the CWT to be separated from everything else that has occurred

    in the industry during the operation of CWT.”28

              76.   This chart shows the impact of CWT’s three 2009 herd retirements on

    prices:




    28
         http://www.cwt.coop/sites/default/files/pdf/ScottBrownCWTNovember2009.pdf.



                                               29
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 31 of 56 PageID 897




    CWT explains that these herd retirements were “made possible by the financial

    commitment of tens of thousands of dairy farmers” who “have in just a matter of months

    moved milk prices for all producers back to where they were a year ago.”29

             77.    According to the analysis of Dr. Brown, milk prices in 2009 “would have

    averaged $1.66 less had the CWT program not been in business - actively removing cows

    and, thus, reducing milk production in a timely manner.”30

             78.    Moreover, the only way in which the herd retirement program could be

    effective was with the organized conspiracy of the Defendant members of CWT;

    individual producers could not effectuate the intended raw milk reduction alone. “67%

    29
         http://www.cwt.coop/sites/default/files/newsletters/CWTNewsDecember2009.pdf.
    30
         http://www.cwt.coop/sites/default/files/newsletters/CWTNewsJune2010.pdf.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 32 of 56 PageID 898




    represents the minimum level of participation [of milk cooperatives and producers in the

    U.S.] CWT needed to reach.        However, to maximize the effectiveness of CWT’s

    programs in 2009 and 2010 that number needs to grow.” (Emphasis in original.) In 2009,

    “CWT reached that goal, thanks to the 35 dairy cooperatives and nearly 400 individual

    dairy farmers making the investment that gives CWT the resources necessary to achieve

    its milk reduction goals.” Without the investment” of the $0.10 per hundredweight (cwt)

    of raw milk produced by each Defendant member of CWT and the agreement to use that

    funding for herd retirements to restrain the supply of raw milk produced, Defendants

    would not have been able to accomplish their goal to “strengthen and stabilize milk

    prices.”31

             8.     The 2010 herd reduction again boosts prices above the free market.32

             79.    On May 27, 2010, CWT announced its tenth herd retirement. Said Mr.

    Kozak, “It is our belief that a herd retirement at this time will add to the positive

    momentum already building and should result in speeding up the milk price recovery

    already in progress.”

             80.    By July 7, 2010, CWT accepted 194 bids on what would be its last herd

    retirement, representing 34,442 cows and 653,893,409 pounds of farm milk.




    31
         http://www.cwt.coop/about/about_whatis.html.
    32
         http://www.cwt.coop/about/about_news_releases2010.html.



                                               31
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 33 of 56 PageID 899




              81.    In total, CWT was responsible for removing 506,921 cows from

    production and for eliminating 2,802 dairy farms from the market, resulting in the

    removal of 9.672 billion pounds of farm milk as summarized in the following chart.33




    Moreover, the chart indicates that some of the 2,802 dairy farms that were eliminated

    were smaller farms, because the average retired herd size was 181 (and larger U.S. dairy

    farms can have up to 5,000 cows or more).

              82.    On October 26, 2010, CWT voted to focus the program exclusively on

    building export markets and no longer fund herd retirement. The refocused program was

    to be funded at two instead of ten cents per hundredweight. Mr. Kozak claimed that the

    herd retirement program “has reached a point of diminishing returns, where there were a


    33
         http://www.cwt.coop/sites/default/files/pdf/past-herd-retirements-110810.pdf.



                                                 32
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 34 of 56 PageID 900




    declining number of member farms that were expecting to use CWT as a means to

    liquidate their herds.”

             83.    In a June 8, 2011, press release, NMPF noted that the CWT program no

    longer funds herd retirements or cow removals, and will focus exclusively on assisting

    member organizations with dairy exports, assuming it could obtain commitment by mid-

    November of a 70% membership participation level.34

    B.       Defendants’ Conspiracy Raises Milk Prices Throughout the Class Period

             84.    As a direct result of the Defendants’ and co-conspirators’ reduction in

    output of farm milk and the elimination of thousands of competitors from the market,

    over-order milk prices throughout the Relevant Period were supracompetitively higher

    than they would have been in competition.

             85.    In a 2008 report, Dr. Brown illustrated the effect of herd retirement on

    “U.S. Dairy Cows” in an analysis that “allows for the effects of the CWT to be separated

    from everything else that has occurred in the industry during the operation of the CWT

    program”:




    34
         http://www.cwt.coop/about/about_news_releases.html.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 35 of 56 PageID 901




           86.    Dr. Brown then summarized the effect of CWT’s program, funded by

    Defendants, on increasing the “US All Milk Price”:




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 36 of 56 PageID 902




             87.    Dr. Brown concluded his 2008 report by describing the success of the

    CWT program, funded by Defendants:




             88.    In Dr. Brown’s January 2011 Report, entitled “The Economic Effects of

    the CWT Program,” he analyzed the cumulative effect of the ten herd retirements.35

             89.    Again, his analysis “allowed for the effects of the CWT to be separated

    from everything else that has occurred in the industry during the operation of the CWT

    program.”36




    35
      http://www.cwt.coop/sites/default/files/pdf/Economic-Effects-of -CWT-January-
    2011.pdf.
    36
         2008 CWT Town Hall Meeting Presentation.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 37 of 56 PageID 903




           90.     First, Dr. Brown analyzed the impact CWT’s herd retirements have had on

    farm milk prices each year since its inception. CWT states, “The beauty of CWT herd

    retirements is that the impact of each herd retirement lasts several years. Each herd

    retirement completed builds on and adds to those that have been carried out before.”




           91.     In the above chart, each color represents the effect of a herd retirement on

    farm milk prices. There were ten rounds of herd retirements and so ten colors in the

    chart. The blue represents the effects of the first herd retirement, which occurred in 2003

    and affected prices in 2004 through 2006. The red represents the effects of the second

    herd retirement, which occurred in 2004 and affected prices in 2004 through 2007. The

    green represents the effects of the third herd retirement, which occurred in 2005 and

    affected prices in 2005 through 2008, and so on. Thus, the later herd retirements are




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 38 of 56 PageID 904




    likely still to be affecting prices through to the present, especially after the addition - in

    advance of the four record-breaking 2009 herd reduction - of the policy restraining

    farmers from reentering the dairy farming business for at least one year after they

    accepted a CWT payment in exchange for retiring their entire herd.

           92.     The chart also shows that the total increase in farm milk price in 2004 due

    to herd retirement was $0.20 per cwt.          The cumulative continuing impact of the

    subsequent herd retirement rounds was $0.50 per cwt in 2005; $0.60 per cwt in 2006;

    $0.86 per cwt in 2007; $0.78 per cwt in 2008; $1.61 per cwt in 2009; and $1.75 per cwt

    in 2010.

           93.     Another chart from Dr. Brown’s analysis shows the cumulative impact on

    producer revenue that the ten herd retirements have had:




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 39 of 56 PageID 905




              94.    This chart shows that as of 2010, CWT’s restraints on milk production in

    the form of premature herd retirements had increased cumulative farm milk price

    revenues by over $9 billion.

              95.    Moreover, CWT’s impact on farm milk prices affects retail milk prices, as

    “[r]etail prices roughly track farm prices.”37      Jim Dunn, Professor of Agricultural

    Economics at Pennsylvania State University, explains that “retail prices do fall with farm

    prices, as well as rise.”38 In his July 2011 report entitled “Dairy Outlook,” he graphs the

    direct relationship between farm and retail milk prices:”39




    37
         http://www.modbee.com/2010/10/23/1396934/got-retail-milk-price-basics.html.
    38
         http://www.agweb.com/news/news.aspx?ArticleId=305612.
    39
         http://dairyoutlook.aers.psu.edu/reports/DairyOutlookjul11.pdf.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 40 of 56 PageID 906




           96.     From the above chart, it is plain to see that retail milk prices closely

    follow farm milk prices over time. Thus, by manipulating the supply of farm milk

    through herd retirement, price competition has been suppressed and, as a result, direct

    purchasers of raw milk, processed or fluid milk, and fresh milk products have paid

    supracompetitive prices for over-order premiums and other charges above the minimum

    FMMO prices. Milk demand is highly price inelastic. Therefore a decrease in raw milk

    supply can cause - and as shown by Dr. Brown’s analysis, has caused - a substantial

    increase in price due to a lack of suitable alternatives. Because milk demand is inelastic,

    prices rose and revenues were higher for remaining producers as a result of the herd

    retirement program.

           97.     Jerry Kozak, President and CEO of NMPF, recognized in an August 2004

    newsletter that CWT’s supply-reducing measures at the farm milk level had an almost

    immediate effect on retail prices. CWT’s own newsletter included the following chart,

    which shows that average retail prices tracked average raw milk prices:40




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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 41 of 56 PageID 907




              98.    Prices have been supported at artificially high levels throughout the United

    States. The minimum pricing of nearly all of the farm milk produced in the United States

    is regulated by milk marketing orders. Currently ten federal milk marketing orders

    (FMMOs) regulate the sale of 70 percent of all milk produced in the country. However,

    prices of raw farm milk over such minimums - called “over-order” prices - are not

    subjected to such regulation.

              99.    The federal milk marketing orders set the minimum prices that processors

    must pay for Grade A milk according to its end-use. “Each month, federal orders set the

    minimum prices for milk used in cheese, and milk used in butter and dry milk according

    to formulae that take into account the wholesale prices of these products. The minimum

    price for milk used in fluid products (Class I) in each order is set as a fixed differential

    over the manufacturing-use minimum prices.”41

              100.   These orders protect farmers from too-rapidly falling prices by setting a

    minimum price that processors must pay for raw farm milk. However, the orders set no

    maximum; market forces, such as reductions in supply, can and do increase the price of

    raw farm milk well above the floor set forth in the federal milk marketing order. The

    “over-order” price of milk is unregulated and determined solely by market forces,

    without regard to any federal milk pricing regulation. To be clear, the artificially inflated

    over-order prices received by Defendants were never approved by the USDA.




    41
         http://aic.ucdavis.edu/research1/DairyEncyclopedia_policy.pdf.



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Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 42 of 56 PageID 908




             101.   Thus, the farm milk price and all milk price used throughout this

    Complaint do not refer to the regulated minimum price but the over-order milk price

    actually received by Defendants. Indeed, the all milk price referenced in Dr. Brown’s

    reports will typically be higher than the milk marketing order due to the over-order

    premium.42

             102.   The CWT herd retirement program reduced the supply and thereby raised

    the over-order price of raw farm milk, thus raising the price of the key input into a broad

    range of dairy products. The reduced supply and higher over-order prices of raw farm

    milk resulted in higher wholesale and retail prices of milk and other fresh milk products,

    which harmed direct purchasers of those products, such as Plaintiffs, which paid higher

    prices for dairy products than they would have paid had CWT not enacted its herd

    retirement program.

    C.       Defendants Are Not Entitled to the Limited Protections of the Capper-
             Volstead Act

             103.   CWT blatantly restricted farm milk production to increase farm milk

    prices because it purported to enjoy antitrust immunity under the Capper-Volstead Act.

    According to its website, “CWT is, in effect, a federation of cooperatives and producers

    formed in accordance with the Capper-Volstead Act and acting in association for the

    specific purpose of achieving strong and stable milk prices.”43


    42
      See Andrew M. Novakovic, Changes in the Farm Price of Milk Over the Last 100
    Years, Cornell Program on Dairy Markets & Policy, Brfg. Paper Number 09-1, at 2 (Aug.
    2009).
    43
         http://www.cwt.coop/cwt_faqs.html.



                                                41
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 43 of 56 PageID 909




           104.    But the activities by CWT and its members to restrain the supply of farm

    milk are outside of the protections of the Capper-Volstead Act. The plain language of the

    Capper Volstead Act does not provide immunity for production restraints. Indeed, as

    NMPF, established in 1916, and CWT must be well aware, the Department of Justice,

    Federal Trade Commission, and United States Department of Agriculture have long

    interpreted Capper-Volstead not to apply to production restraints.        The USDA has

    recognized in various published documents that it is illegal for cooperatives to restrain

    members’ production. Cooperatives were developed to assist producers in marketing the

    available supply of agricultural products, not to limit supply. Congress did not grant the

    cooperatives the power to restrict supply. The herd retirements orchestrated by CWT and

    its members went beyond merely setting the price for raw milk, but instead sought to

    restrain the supply of raw milk, eliminate competition and thereby artificially inflate the

    over-order prices of raw milk. CWT, and its members, therefore, are not entitled to the

    protections of the Capper- Volstead Act.

           105.    In addition, the activities of CWT and its members, including Defendants,

    as described herein, were anticompetitive and predatory. CWT performed no activities

    that promoted market efficiency and had no legitimate business justification for its

    existence. CWT did not collectively process, prepare for market, handle, or market any

    of the products of its members as required by the Capper Volstead Act. As described

    herein, Defendants’ collusive plan to orchestrate premature herd retirements and

    eliminate competing producers from the market was predatory and not protected under

    the Capper Volstead Act. Among the over twenty eight hundred (2,800) dairy farms




                                                42
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 44 of 56 PageID 910




    removed from the market are those who explain they had intended to reenter the dairy

    business but were prevented from doing so after participating in the CWT herd retirement

    program:

           [M]y co-op convinced me to go in the ‘buyout’ last summer promising
           me we could start milking our young fresh heifers when they first calf.
           But they denied me the ability to restart stating they had too much
           production. Now we will probably lose our farm because they will not
           take the milk and they have purchased all the competing creamer[ie]s in
           our area. I needlessly slaughter[ed] my families’ life work. They seem
           to favor the big ‘sweat shop’ dairies in favor of us small guys. By the
           way my Bank took all the proceeds from the slaughter and the CWT
           money, we were left with nothing but an empty dairy.

    Thus, not only did CWT and its members orchestrate the removal of over 2,800 dairy

    farms from the market, but they also intended to and did in fact prevent dairy farmers

    who wanted to reenter the dairy farming business from doing so, in order to reduce

    supply, eliminate competition, and drive up over-order raw farm milk prices.

           106.      Moreover, the limited protections of Capper-Volstead are not even

    available unless the organization engaging in the coordinated efforts is exclusively made

    up of protected entities. The exemption afforded by the Capper Volstead Act extends

    specifically to “farmers [and] dairymen” not to large, vertically integrated processors

    which are also engaged in production, such as Defendants Dairy Farmers of America and

    Land O’Lakes. Accordingly, CWT and its members do not enjoy the limited immunities

    of Capper-Volstead and neither does NMPF for having created and conspired with a non-

    exempt entity.

           107.      Further, Capper-Volstead requires that protected cooperatives be

    “operated for the mutual benefit of the members thereof,” and limits the immunity




                                               43
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 45 of 56 PageID 911




    provided by the Act to cooperatives that afford equal corporate suffrage rights to its

    members, providing “that no member of the association is allowed more than one vote

    because of the amount of stock or membership capital he may own therein.” NMPF,

    which contains numerous cooperatives that are not members of CWT, retains ultimate

    authority over CWT operations.       Per its bylaws, CWT is subject to the general

    supervision and direction of the NMPF, and NMPF has retained the power to amend

    CWT’s bylaws, which are part of NMPF’s bylaws. Moreover, CWT’s organizational

    structure vests automatic, ex officio representation on the CWT committee with NMPF’s

    Board of Directors, who are not all CWT members.44 These circumstances defeat the

    equality of corporate suffrage that members of CWT are entitled to, effectively defeating

    the one-member-one-vote condition of Capper Volstead immunity. Moreover, the fact

    that such non-members have influence over the direction of CWT, without paying dues

    and while benefitting from the herd retirements’ industrywide effect, puts the conduct of

    the Defendants outside of the immunity afforded by the statute. Per CWT bylaws, there

    are at least eight policy-setting CWT Committee members who represent dairy

    cooperatives that are not themselves members of CWT, but still materially benefit from

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       http://www.cwt.coop/sites/default/files /pdf/cwt_by_laws.pdf. In particular, seven out
    of forty NMPF Board of Directors members and one out of seven NMPF Officers are not
    affiliated with a CWT member cooperative. The seven directors from non-CWT
    organizations are: (1) Steve Schlangen, Associated Milk Producers Inc.; (2) Ed Welch,
    Associated Milk Producers Inc.; (3) Tim den Dulk, Continental Dairy Products, Inc.; (4)
    Randy Geiger, Manitowoc Milk Producers Coop.; (5) Albert Knegendorf, Ellsworth
    Cooperative Creamery; (6) Dennis Donahue, Manitowoc Milk Producers Coop.; and (7)
    Brad Bouma, Select Milk Producers. The officer from a non-CWT organization is
    Assistant Treasurer Mike McCloskey, Select Milk Producers, Inc.
    http//www.nmpf.org/about-nmpf/board-of-directors.



                                               44
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 46 of 56 PageID 912




    CWT policies despite not paying dues. This conflict of interest makes plain that CWT is

    not operated for the mutual benefit of its members but for the benefit of interested and

    involved non-members as well. Thus, CWT does not qualify as a Capper-Volstead

    entity.

              108.    For all of the above reasons, the Capper Volstead’s limited protection

    from antitrust liability does not apply to Defendants.

                     V.    FRAUDULENT CONCEALMENT ALLEGATIONS

              109.    Throughout the Relevant Period, Defendants and their co-conspirators

    engaged in a successful and illegal price-fixing and supply control conspiracy that was

    self-concealing.      In addition, Defendants effectively, affirmatively and fraudulently

    concealed their unlawful combination, conspiracy, and acts in furtherance thereof from

    Plaintiffs. Defendants effectuated their concealment by, among other things, falsely

    claiming that their activities were cloaked under the protection of the Capper-Volstead

    Act.

              110.    Specifically, Defendants took the following steps to conceal their

    conspiracy.

              111.    In communications concerning milk and milk product prices throughout

    the Relevant Period with Plaintiffs, Defendant Southeast Milk attributed price increases

    to various cost and other putatively legitimate factors, such as increases in the cost of

    feed, and inhospitable weather, and never revealed to Plaintiffs the material fact that

    prices were increased above competitive levels due the Herd Retirement Program.

    Southeast Milk knew or should have known that the intended purpose and actual effect of




                                                 45
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 47 of 56 PageID 913




    the Program to raise prices above competitive levels should have been disclosed to

    Plaintiffs, independently and when the topic of prices arose in dealings with Plaintiffs.

    Southeast Milk also knew that it could induce Plaintiffs to forego taking action to protect

    their interests and prevent or recover their losses by concealing from them the intended

    purpose and actual effect of Program to raise prices above competitive levels, and

    communicating other plausible, yet false, reasons for the price increases to Plaintiffs.

    Moreover, when it was communicating with Plaintiffs about prices or price increases,

    Southeast Milk had a duty to disclose to Plaintiffs the Herd Retirement Program and the

    fact that its intended and actual purpose was to reduce the number of dairy cows and

    increase prices above competitive levels. That duty was created, inter alia, by the Supply

    Agreements in force between Plaintiffs and Southeast Milk from at least May 2006

    through 2013, including without limitation the obligation on behalf of Southeast Milk to

    conduct itself ethically, and also its representation in the Agreements that it would

    conduct itself in compliance with all laws, as well as the duty of good faith and fair

    dealing implied in every contract. Plaintiffs relied to their detriment on the false and

    misleading incomplete statements made by Southeast Milk concerning the reasons for

    price increases.

           112.    In addition to the fraudulent and misleading communications directly with

    Plaintiffs, Defendants took steps to conceal more broadly the intended purpose and actual

    effect of the Herd Retirement Program to raise prices above competitive levels. For

    example, when Defendants ceased the Program, they sought to cover it up. They took

    down the FAQs section from the CWT website that contained information regarding the




                                                46
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 48 of 56 PageID 914




    Program. In addition, Mr. Kozak made a false statement as to why the CWT was

    discontinuing the Program. He said that it was because it was having a diminishing

    effect. See Paragraph 82 of this Complaint. However, to the contrary, 2010 was the most

    successful year ever for the Program, with 3 of the 10 herd retirements occurring during

    that year. Moreover, Mr. Kozak’s statement was made after the first lawsuits were filed

    challenging the legality of the Program – lawsuits that the CWT ascribed to animal rights

    activists, another false statement.

           113.    The CWT also covered up that the Program was intended to drive small

    dairy farmers out of business. For example, there is the statement of the family owned

    dairy farmer in Paragraph 105 of the Complaint, where he states that he was told that he

    could get back into dairy farming the next season, after selling his entire herd, but then

    was prevented from doing so by Defendants.

           114.    In addition, the CWT concealed the Capper-Volstead disabling conflicts of

    interests that existed as a result of the makeup of the NMPF and the CWT, as detailed in

    Paragraph 107 of this Complaint.

           115.    The CWT put into fine print on the Bid Form the conditions that (1) a

    dairy farmer had to sell his entire herd, not just his poorly-producing part of the herd, and

    (2) a dairy farmer had to attest that the herd being sold was a true producing herd, and not

    one that was sickly or poorly producing, even though the cows purchased by the CWT as

    part of the Program were going to slaughter. See Paragraphs 6-7 of this Complaint.

    Furthermore, Plaintiffs never saw the Bid Form during the time that the Herd Retirement

    Program was being carried out.




                                                 47
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 49 of 56 PageID 915




           116.    The CWT covered up and certainly did not publicize the fact that the

    Program was changed in 2009 to require that any dairy farmer who sold his herd to the

    Program had to stay out of dairy farming for one year (and would not get the remaining

    10% of the payment for his herd until the end of that one year and only upon certification

    that he had not engaged in dairy farming during that one year). See Paragraphs 10 and 66

    of this Complaint.

           117.    Defendants’ statements regarding the purpose and effect of the Herd

    Retirement Program concealed that it was intended to create supracompetitive prices.

    Those statements masked the true purpose of the Program – to raise over-order prices to

    supracompetitive levels.    Instead, Defendants’ statements spoke of “the milk price

    recovery” – suggesting the opposite of the truth -- that the Program was intended to help

    dairy farmers in times of low prices, rather than to create supracompetitive prices. See,

    inter alia, Paragraphs 79 and 71 of this Complaint.

           118.    Plaintiffs did not know nor could they have known that the prices for raw

    milk, processed or fluid milk, and other milk products were artificially inflated and

    maintained by virtue of Defendants’ illegal price-fixing and supply control conspiracy,

    and that Plaintiffs were paying higher prices as a result of the conspiracy.

           119.    While Defendants’ own statements in connection with the Program were

    intended to conceal its true purpose and effect, Plaintiffs were not aware of these

    statements (except those set forth in Paragraph 111) because they, as retailers, did not and

    do not keep track of dairy herd organizations, their websites, their announcements or

    newsletters, which are targeted to members of the dairy farmers’ cooperatives and not the




                                                 48
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 50 of 56 PageID 916




    general public. In short, the audience for all of the above (with the exception of the

    fraudulent and misleading communications made directly to Plaintiffs), and the

    dissemination of it, is not sufficient that Plaintiffs would have been aware of them. Even

    considering this, the false and misleading nature of the Defendants’ statements regarding

    the Herd Retirement Program is important because, had Plaintiffs been aware of them,

    the statements would have concealed the true purpose and effect of the Program from the

    Plaintiffs.

            120.   Moreover, no Defendant, including Southeast Milk and DFA, ever told

    Plaintiffs (1) about the existence of the Herd Retirement Program or Cooperatives

    Working Together, (2) that Southeast Milk, DFA and the other Defendants Dairylea,

    Land ‘O Lakes and Agri-mark were members of CWT and participated in the Herd

    Retirement Program, either by paying the Herd Retirement Program fees or assessments

    and/or by reason of their members retiring their herds pursuant to the Program, or (3) that

    the intended purpose and actual effect of the Program was to raise prices to

    supracompetitive levels.

            121.   As a result of Defendants’ fraudulent concealment of their conspiracy, the

    running of any statute of limitations has been tolled with respect to any claims that

    Plaintiffs have as a result of the anticompetitive conduct alleged in this Complaint.


                    VI.     CONTINUING VIOLATION ALLEGATIONS

            122.   Defendants’ conspiracy – the Herd Retirement Program, the acts in

    furtherance of it, and the resulting injury caused to Plaintiffs – was a continuing antitrust

    violation.



                                                 49
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 51 of 56 PageID 917




              123.   Specifically, Defendants created, agreed to and engaged in the Herd

    Retirement Program, which they knew would (a) reduce the number of dairy cows and

    dairy farms, (b) reduce the supply of raw milk, (c) increase the price of raw milk above

    competitive levels, (d) increase the over-order premiums or prices above a competitive

    level, and (e) have a lasting effect beyond the last herd retirement, such that the

    supracompetitive prices caused by the Program would last for several years beyond the

    last herd retirement in 2010. Indeed, the CWT stated that “The beauty of CWT herd

    retirements is that the impact of each herd retirement lasts several years. Each herd

    retirement completed builds on and add to those that have been carried out before.” See

    Paragraph 90, supra.

              124.   Therefore, based on CWT’s own statement regarding the lasting effect of

    the herd retirements, their effect – raising prices above competitive levels – lasted at least

    through 2013. And Defendants continued to charge supracompetitive prices caused by

    the herd retirements through 2013.        Every time that a Defendant charged such a

    supracompetitive price, through 2013, and every time Plaintiffs purchased milk and other

    fresh dairy products at that supracompetitive price, through 2013, the purchase

    constituted an overt act and a new statutory period would begin to run.

              125.   Thus, since Plaintiffs purchased milk and other fresh dairy products from

    Defendants at supracompetitive prices (caused by the herd retirements) through 2013,

    Defendants engaged in a continuing antitrust violation, and therefore, this action is

    timely.




                                                 50
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 52 of 56 PageID 918




                                                 COUNT I

                          VIOLATION OF SECTION 1 OF THE SHERMAN ACT

                                                15 U.S.C. ¶ 1

           126.     Plaintiffs reallege and reassert all of the prior allegations, as if set forth

    fully herein.

           127.     In response to market conditions, and in an effort to supracompetitively

    inflate the prices of farm milk, beginning in 2003, and continuing thereafter through

    2010, the Defendants and their co-conspirators engaged in a continuing contract,

    combination and conspiracy in restraint of interstate trade and commerce, which had the

    purpose and effect of fixing, raising, maintaining and/or stabilizing the prices of milk at

    artificially high, non-competitive levels in the United States.

           128.     The aforesaid contract, combination and conspiracy between and among

    the Defendants and their co-conspirators was furthered and effectuated, among other

    ways, by the following acts:

                    (a)     Prior to the Relevant Period, raw milk over-order prices could not

           be maintained due to a fluctuating imbalance of supply over demand – after spurts

           of high prices, producers would add more production capacity and prices would

           fall again.

                    (b)     Against this backdrop the Defendants acted in concert with

           competitors, with and through CWT and other trade groups, and with non-

           producer conspirators, and contracted, conspired, and combined to effectuate a

           substantial reduction of the production of raw farm milk and to eliminate




                                                 51
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 53 of 56 PageID 919




           thousands of otherwise competing dairy farms from the market, which caused

           substantial supra-competitive increases in over-order prices of raw milk, and

           ultimately fluid milk and other fresh milk products.

                   (c)    Defendants conspired to, and contributed financially towards a

           plan to, substantially reduce farm milk production through ten phases of herd

           retirements, which removed over 500,000 cows from production, eliminated

           2,802 dairy farms from the market, and reduced the nation’s milk supply by over

           9.672 billion pounds. These actions were extraordinary, noncompetitive, and

           contrary to economic fundamentals.

                   (d)    To maintain their overarching conspiracy to restrain output and

           production, to significantly reduce the number of dairy producers competing in

           the market, to eliminate competition, and to thereby supracompetitively raise

           over-order prices of milk, and thereby raise the price of processed milk and other

           fresh milk products, Defendants took significant steps throughout 2003 to 2010,

           which resulted in supracompetitive prices for the over-order prices of milk and for

           the prices of processed milk and other fresh milk products throughout the

           Relevant Period.

           129.    The conspiracy had its intended effect, as Defendants benefited from their

    limitations on production as described herein.

           130.    For the purposes of effectuating the aforesaid contract, combination and

    conspiracy, the Defendants and their co-conspirators:




                                                52
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 54 of 56 PageID 920




                   (a)     Agreed among themselves to fix, raise, maintain and/or stabilize

           the prices of farm milk in the United States;

                   (b)     Agreed among themselves to restrict the supply of farm milk by

           implementing and coordinating herd retirements; and

                   (c)     Agreed     among themselves to implement supracompetitive

           increases in the prices of farm milk in the United States.

           131.    By reason of the foregoing, Defendants have violated Section 1 of the

    Sherman Act, 15 U.S.C. §1.

                                          PRAYER FOR RELIEF

           Plaintiffs pray for the following relief:

           A.      A declaration that Defendants’ conduct constituted an unlawful restraint of

    trade in violation of Section 1 of the Sherman Act (15 U.S.C. § 1) alleged herein and that

    Defendants are liable for the conduct or damage inflicted by any other co-conspirator;

           B.      Restitution and/or damages to Plaintiffs for their purchases of raw milk –

    specifically the over-order premiums or prices of milk, and the prices of processed or

    fluid milk, and/or other milk products at inflated prices;

           C.      Actual damages, statutory damages, punitive or treble damages, and such

    other relief as provided by the statute cited herein;

           D.      Attorneys’ fees and costs;

           E.      Pre-judgment and post-judgment interest on such monetary relief;




                                                  53
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 55 of 56 PageID 921
Case 3:15-cv-01143-BJD-PDB Document 56 Filed 08/31/16 Page 56 of 56 PageID 922
